                    Case: 1:20-cv-00236 Document #: 15 Filed: 07/09/20 Page 1 of 1 PageID #:144
                                               CERTIFICATE OF NON SERVICE

UNITED STATES DISTRICT COURT                                                              Case #: 1:20-cv-236
NORTHERN DISTRICT OF ILLINOIS

                                           Republic Technologies (NA), LLC and Sream, Inc.
                                                                                                                       Plaintiff
                                                                    vs.

                                      Quick Mart Corporation d/b/a Go Lo and Cristen Maxwell
                                                                                                                     Defendant

The undersigned, being first duly sworn, on oath deposes and says: that s(he) is now and at all the times herein mentioned was a
citizen of the United States, over the age of eighteen, not an officer of plaintiff corporation, not a party to nor interested in the above
entitled action, and is competent to be witness therein.

Affiant states s(he) attempted to serve Cristen Maxwell, at 603 E Gum St, Russellville, AR 72802, with the Summons &
Complaint For Injunctive Relief and Damages and after due search, careful inquiry and diligent attempts, was unable to effect
service for the following reasons:
 05/29/2020     12:58 PM     Current resident is Cindy Hampton for 1 year. I spoke with River Valley Realty, the property management
                             for the home, and they said defendant had lived there until Feb 2019. They do not show a forwarding
                             address.

                                                                          I declare under penalties of perjury that the information contained
        Judicial Attorney Services, Inc.                                  herein is true and correct.
        2100 Manchester Rd., Ste 505
        Wheaton, IL 60187
        (630) 221-9007
                                                                          Signature:
                                                                                                  Marty Weatherford




CLIENT: Langone, Johnson & Cassidy, LLC                                                                                            Job #: 436378
FILE #:
